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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

ANTHONY WOMACK,

Defendant.                                              No. 05-CR-30015-DRH

                                    ORDER

HERNDON, District Judge:

             Before the Court is Attorney John Abell’s Motion to Withdraw as

Counsel in the above-captioned matter. (Doc. 332.) Because Defendant Anthony

Womack is currently represented by other counsel in this matter, the Court GRANTS

Attorney Abell’s motion and WITHDRAWS Attorney Abell from this matter. (Doc.

332.)

             IT IS SO ORDERED.

             Signed this 20th day of June, 2006.



                                            /s/        David RHerndon

                                            United States District Judge
